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these cases is a $454 Million jury verdict in the United States District Court for the Central

District of California (April 2017), which was the largest jury verdict in the State of California

and the third largest in the nation during the year 2017. Also included among the cases are the

following:

        a.     Eden Memorial Park Class Action – reached a successful settlement valued at

$80.5 million in 2014 in the middle of the trial against global deathcare company Service

Corporation International in a class action lawsuit alleging that Eden Memorial Park, one of the

largest Jewish cemeteries in the United States, routinely engaged in misconduct over many years

relating to the care and maintenance of graves and human remains that was not disclosed to

purchasers.

        b.     Cast Art Industries v. KPMG, LLP – secured a $31.8 jury verdict in the case ($40

million with interest and costs), which was reported to be one of the largest in the country in

2008.

        c.     Targus Group International, Inc. v. KPMG –reached a successful settlement of an

accounting malpractice action on behalf of the plaintiff for an amount reported by the Wall Street

Journal as $22.5 million.

        d.     Undisclosed Name – served as lead counsel in connection with a malicious

prosecution lawsuit against a company listed on the New York Stock Exchange that settled for

$39 million, an amount believed to be the largest settlement of its kind in U.S. history.

        e.     Moss Adams Litigation – Successfully represented over 600 individual investors

(through a bankruptcy trustee) who were defrauded through a massive Ponzi scheme (the largest

in the history of the Northwest) in which Moss Adams, acting as independent outside auditor,

audited some of the offending funds.


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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 In the Matter of Search Warrants Executed on April 9,
 2018

 MICHAEL D. COHEN,                                            18-MJ-3161 (KMW)

                               Plaintiff,                     ORDER FOR ADMISSION PRO
                                                              HAC VICE
                       - against –

 UNITED STATES OF AMERICA,

                               Defendant.



       The motion of Michael J. Avenatti, for admission to practice pro hac vice in the above

captioned action is granted.



       Applicant has declared that he is a member in good standing of the bar of the State of

California; and that his contact information is as follows:

       Michael J. Avenatti
       AVENATTI & ASSOCIATES, APC
       520 Newport Center Drive, Suite 1400
       Newport Beach, CA 92660
       Tel: (949) 706-7000
       Fax: (949) 706-7050
       E-Mail: mavenatti@eoalaw.com


       Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Intervenor Stephanie Clifford a.k.a. Stormy Daniels in the above entitled action.



       IT IS HEREBY ORDERED that Applicant is admitted to practice pro hac vice in the

above captioned case in the United States District Court for the Southern District of New York.


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All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.




Dated:
                                               United States District/Magistrate Judge




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